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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

    In re:
                                                         Chapter 11 Case No.

    HO WAN KWOK1                                         22-50073 (JAM)

                                  Debtor.




                      PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.’S
                  RESPONSE TO MEI GUO’S MOTION FOR A PROTECTIVE ORDER

             Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”) respectfully submits this response

to Mei Guo’s (“Ms. Guo”) motion for a protective order (the “Motion”) establishing the means

by which PAX may conduct the May 16, 2022, depositions of Ms. Guo and Hong Kong

International Funds Investments (USA) Limited, LLC (“HKI Delaware”) in connection with

PAX’s Motion to Dismiss Chapter 11 Case or, In the Alternative, Partial Joinder to United States

Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee (the “Motion

to Dismiss”) (ECF No. 183).

                                            BACKGROUND

             1.     PAX sued the Debtor, Miles Kwok (“Kwok”) in April 2017 in the Supreme Court

of the State of New York – County of New York: Commercial Division (Justice Ostrager

presiding) (the “New York Court”), asserting a breach-of-contract claim under Hong Kong law

against Kwok (the “New York Action”).2 PAX won that breach-of-contract claim in September




1
 The last four digits of the Debtor’s taxpayer identification number are 9595.
2
 See ECF No. 183, Ex. 4 (Amended Complaint, PAX v. Kwok, Case No. 22-01073-dsj (Bankr. S.D.N.Y.), ECF No.
3).

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2020 and judgment was entered in February 2021.3 Since then, PAX has been attempting to

collect against Kwok by focusing principally on two assets: a New York City penthouse

apartment in the Sherry-Netherland Hotel that Kwok owns through shell companies (the

“Residence”) and a luxury yacht called the “Lady May.”

        2.        Hong Kong Investments Limited (“HK International Hong Kong”) purchased the

Lady May for €28 million in February 2015. HK International Hong Kong is a Hong Kong

company that Kwok set up and funded in 2006, before transferring it in late 2014 with a family

business associate for no consideration just before being criminally charged and fleeing Asia.4

In June 2017, the business associate transferred HK International Hong Kong to Kwok’s

daughter, Mei Guo, for $1.5 Subsequently, Ms. Guo established HKI Delaware, a Delaware

LLC, and transferred title to the Lady May to that Delaware shell entity, once again for no

consideration.6

        3.        On September 30, 2020, the New York Court entered a temporary restraining

order preventing Kwok from, among other things, “interference with any property in which he

has an interest.”7 On October 15, 2020 the New York Court permanently (i) “restrained [Kwok]

from making or causing any sale, assignment, transfer, or interference with any property in

which he has an interest, whether directly or indirectly, and from paying over or otherwise

disposing of any debt now due or thereafter coming due to him . . . ”; and (ii) specifically

restrained “Mr. Kwok and/or the registered owners of (1) the Residence at the Sherry-Netherland




3
  See ECF No. 183, Ex. 1 (February 3, 2021 Judgment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), ECF
No. 716).
4
  See ECF No. 183, Ex. 2 (“Final Contempt Order”) at 4.
5
  Id.
6
  Id.
7
  See ECF No. 183, Ex. 22 (Decision & Order on Motion, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.),
ECF No. 591).

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Hotel and (2) the yacht, ‘the Lady May’ . . . from making or causing any sale, assignment,

transfer, or interference with those assets.”8

        4.       Despite the New York Court’s orders restraining Kwok and/or the registered

owners of the Lady May from removing the yacht from the court’s jurisdiction, Kwok allowed

the Lady May to flee New York on or around October 9, 2021.9

        5.       After a series of appeals on PAX’s for contempt, the New York Court held an

evidentiary hearing held on February 2, 2022 concerning the ownership of the Lady May, where

the New York Court heard testimony from seven witnesses, including Ms. Guo, the purported

owner of the Lady May.10

        6.       In advance of that hearing, counsel for HKI Delaware and Ms. Guo sought PAX’s

permission to seal the virtual courtroom during her testimony.11 PAX did not oppose, and the

Court granted that request.12 On the day after the hearing, counsel for Kwok filed a request that

the transcript remain under seal.13 Again, PAX did not oppose that request.14 The New York

Court denied that request, ordering that the transcript be filed on the docket and explaining that

“Ms. Guo’s whereabouts were not disclosed during the contempt trial” and there was “no basis

[for sealing] other than counsel’s request.”15




8
  ECF No. 183, Ex. 23 (Decision & Order on Motion at 1, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.),
ECF No. 630).
9
  No. 183, Ex. 36 (Decision & Order of Conditional Contempt at 2, PAX v. Kwok, Index No. 652077/2017 (N.Y.
Sup. Ct.), ECF No. 728).
10
   No. 183, Ex. 38 (Third Interim Decision + Order on Conditional Contempt, PAX v. Kwok, Index No.
652077/2017, (N.Y. Sup. Ct.), ECF No. 1098).
11
   Harbach Decl. (attached hereto as Exhibit A), Ex. 2, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.), ECF
1170 (Jan. 31, 2022).
12
   Id. at 1-2.
13
   Harbach Decl., Ex. 3, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.), ECF No. 1173 (Feb. 3, 2022).
14
   Id.
15
   Harbach Decl., Ex. 4, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.), ECF No. 1174 (Feb. 4, 2022).

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         7.       At the February 2 hearing, Ms. Guo testified that her brother, Qiang Guo, bought

the Lady May for her, but there was no evidence in the record that Mr. Guo was involved in any

of the transactions leading to Ms. Guo’s acquisition of title to the Lady May.16

         8.       On February 9, 2022, the New York Court issued a final Order of Civil Contempt

(the “Yacht Contempt Order”).17 The New York Court found, among other things, that “Kwok

exercised dominion and control over [] the Lady May”18 and that “[t]he testimony adduced at the

hearing out of the mouths of defendants’ witnesses clearly and convincingly demonstrated that

Kwok beneficially owns and controls the Lady May and has utter contempt for this Court and the

judicial process.”19 In its findings, the New York Court cited multiple credibility issues with Ms.

Guo’s testimony.20 The New York Court specifically discredited Ms. Guo’s contention that her

brother bought the Lady May for her, and held that “Ms. Guo appears to be a woman in her

twenties, has introduced no evidence that she exercised dominion and control of the Lady May,

and provided no confirmation that she came into possession of the Lady May, other than as a

ruse to shield the Lady May from being levied upon by her father’s creditors.”21

         9.       Shortly thereafter, Mr. Kwok filed for voluntary bankruptcy on February 15,

2022. Notwithstanding the Yacht Contempt Order, Kwok continues to maintain that the Lady

May is owned by Ms. Guo.22




16
   Final Contempt Order at 5.
17
   Id. at 1.
18
   Id. at 2.
19
   Id. at 4.
20
   Id. at 5, 6-7.
21
   Id. at 6-7.
22
   For example, Kwok’s notice of removal of the New York Action provides that “[t]he New York State Court has
issued orders that contain factual findings with respect to these issues, including determining that the most relevant
purported asset (the Lady May yacht) is within Mr. Kwok’s beneficial ownership”—and invites this Court to “[re-
]determine what is (or is not) property of the estate.” Harbach Decl., Ex. 5, Notice of Removal at ¶ 7 n.1, PAX v.
Kwok, No. 1:22-cv-02258-MKV (S.D.N.Y.), ECF No. 1.

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        10.      On March 18, 2022, PAX filed a Motion for Entry of an Order Confirming the

Inapplicability of the Automatic Stay or, in the Alternative, Relief from the Automatic Stay

Pursuant to Section 362(d)(2) of the Bankruptcy Code (“Stay Motion”).23 PAX filed the Stay

Motion to “to ensure that [the Lady May,] a valuable estate asset is brought to New York where

it can be protected for the benefit of Kwok’s creditors subject to further order of the Court.”24

        11.      Thereafter, the parties submitted a Stipulated Order Compelling HKI Delaware to

Transport and Deliver That Certain Yacht arrangement, whereby HKI Delaware posts a $37

million bond pending the return of the Lady May.25

        12.      On April 6, 2022, PAX filed its Motion to Dismiss, which will be heard on May

25, 2022. In connection with its Motion to Dismiss, PAX served discovery on several parties,

including HKI Delaware and Ms. Guo.

        13.      Ms. Guo sought accommodations for her May 16, 2022 deposition. The parties

met and conferred on May 5 and May 6, 2022. In connection with those efforts, the parties

already agreed to certain conditions, including that Ms. Guo be permitted to use a personal

translator as a secondary translator. PAX offered certain additional accommodations as reflected

in the parties’ correspondence,26 but asked that Ms. Guo appear on video during the deposition

so that she could be seen by counsel to PAX.27 PAX invited Ms. Guo to seek similar

accommodations from other participating parties, including the Office of the United States

Trustee and the Official Committee of Unsecured Creditors.28




23
   See ECF No. 57, PAX’s Stay Motion.
24
   See EFF No. 93, PAX’s Reply in Support of its Stay Motion, at 2.
25
   See generally ECF No. 299, Stipulated Order.
26
   Harbach Decl., Ex. 1 at 1.
27
   Id.
28
   Id.

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                                              ARGUMENT

           14.      PAX will consent to much of the relief requested in the Motion, but PAX will not

consent to the relief sought in Paragraphs 40c, 40d, and 40f because the relief sought does not

align with the alleged security concerns expressed in the Motion.

           15.      During the meet and confer correspondence, to its recollection, PAX was never

asked whether it would consent to Ms. Guo’s request that her physical location not be disclosed

on the record.29 PAX would have consented to this request. If her physical location is not

disclosed, Ms. Guo has not identified any connection between the concerns identified in the

Motion and the participants to the deposition. As the New York Court held, if “Ms Guo’s

whereabouts [are] not disclosed,” there is no basis for sealing, “other than counsel’s request.”30

           16.      Depositions are not broadcast live or otherwise publicly available. Subject to the

terms of a valid protective order, members of the public do not have access to audio or video

recordings or to transcripts. This is not a situation where the witness is testifying in live court

and is at risk of legitimate retaliation threats. Cf. People v. Jones, 96 N.Y.2d 213, 214–15, 750

N.E.2d 524, 525 (2001) (“When the People can establish an overriding interest that open-court

testimony by an undercover officer would jeopardize the officer’s safety, the Trial Judge may

close the courtroom during the testimony of that witness.”). Moreover, Ms. Guo’s participation

in these proceedings is already public. The transcript of her testimony from the February 2, 2022

hearing is publicly available, and the filing of the Motion shines a further light on her

participation, including by identifying the date and time of her deposition.




29
     See Motion at ¶ 40e.
30
     Harbach Decl., Ex. 4.

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        17.       Ms. Guo has offered no reason why the participating parties to the deposition

would be unable or unwilling to follow standard confidentiality protocols, as attorneys do in

every case.

        18.       As offered during the meet and confers,31 PAX continues to offer the following

conditions, as modified below:

        19.       Paragraph 40a. PAX will conduct the deposition by remote means using a court

reporter and deposition technology of any well-established industry vendor of Ms. Guo’s choice,

at PAX’s cost. A vendor is necessary to facilitate exhibit sharing and to create a proper record.

Without a vendor, PAX does not have the appropriate technology or logistics services to conduct

the deposition.

        20.       Paragraph 40c and d. Ms. Guo will appear on video so she can be seen by the

questioning party during the swearing-in and throughout the entire deposition. A face-to-face

deposition will allow the examiner to evaluate Ms. Guo’s credibility and to assess whether her

testimony is affected by any persons or circumstances in the background. See, e.g., Ayala v.

Speckard, 131 F.3d 62, 71 (2d Cir. 1997) (“Disguising the witness risks lessening the jury’s

opportunity to observe the witness's demeanor and assess credibility.”). This condition is critical

given the New York Court’s findings regarding her credibility.32

        21.       Paragraph 40f. Ms. Guo’s and HKI Delaware’s deposition will be recorded by

the vendor by stenographic, video, and audio means. PAX previously offered to record the

deposition only by audio, but given the posture of these cases, including Kwok’s previous

authenticity challenges33 and Ms. Guo’s counsel’s apparent unwillingness to agree that Ms. Guo


31
   Harbach Decl., Ex. 1.
32
   Final Contempt Order at 5, 6-7.
33
   E.g., Harbach Decl., Ex. 6, PAX v. Kwok, Index No. 652077/2017, (N.Y. Sup. Ct.), Dkt. 1178 (Feb. 4, 2022), at
12.

                                                        7
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will appear live in court at the hearing on the Motion to Dismiss, PAX has no choice but to

request that the deposition be video recorded.


                                         CONCLUSION

       For these reasons, PAX respectfully requests that the Court grant the relief in the Motion

as amended herein, including the proposed order attached hereto as Exhibit B, and order such

further relief as the Court deems just and proper.



                                  [Signature on Following Page]




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Dated: May 12, 2022                         Pacific Alliance Asia Opportunity Fund L.P.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2022, a copy of the foregoing was filed electronically

through the Court’s CM/ECF System. Notice of this filing will be sent by e-mail to all parties

receiving notice by operation of the court’s electronic filing system. Parties in interest may

access this filing through the Court’s CM/ECF System.

                                                   /s/ Patrick M. Birney
                                                  Patrick M. Birney
